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    Democracy Dies in Darkness



Iranian women shed hijabs for ‘Stealthy Freedoms’
Facebook page
  By Julia Carpenter

May 16, 2014 at 3:35 p.m. EDT


The caption is brief: “This is Iran… The feeling of the wind blowing through every strand of hair, is a girl’s biggest
dream.”

A woman stands in a green valley, staring at a far-off mountain vista. Her arms are covered and her face obscured. Her
honey-blond hair is the only clue to her identity.

This is one of thousands of photos posted to Stealthy Freedoms of Iranian Women, a Facebook page dedicated to
“Iranian women inside the country who want to share their “stealthily” taken photos without the veil.”

Within the first two days of its creation, 30,000 women posted photos of themselves. Two weeks later, the page netted
more than 200,000 likes.

“There is a phrase called guilty pleasures in English, you know, like having a fondness for chocolate when you know it’s
not good for you,” says journalist and creator Masih Alinejad. “For me, when I was in Iran, taking my veil off, was like
thumbing my nose at authority, especially the authority that was forced upon me.”

As The Wall Street Journal reports, come summer Iranian women face heightened scrutiny from the “morality police.”

“For a few weeks at the beginning of warm weather season—when sandals and capri pants and colorful linen tunics
replace drab winter coats and boots–Iran’s morality police raid the streets punishing women for daring to show their
painted toes, bare ankles and streaks of highlight,” writes WSJ reporter Farnaz Fassihi.

Mounire Charrad, an associate professor of sociology at the University of Texas-Austin and Middle Eastern women’s
studies specialist, says she was most struck by three things in the images posted on “Stealthy Freedoms”: the multiple
generations of women represented, the supportive comments posted by men and the photos depicting couples or
mentioning husbands.

“Women in different places have found ways of expressing their own power in ways that don’t cross to the other side,”
she says. “But certainly 100,000 people, with support from men and mothers – it means women are responding to
this.”

And higher-profile posters, such as human rights lawyer Nasrin Soutoudeh, are also joining the group. When
Soutoudeh posted a photo of herself – head uncovered – to the page on May 15, the picture and her accompanying
message was shared more than 1,000 times within just 24 hours.

“The term ‘Stealthy Freedom’ is indicative of the pressures that exists within Iran,” she wrote. “When thousands of        /
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women defy the hijab laws on social media, we cannot deny the existence of pressures for change.”

Although women expose their faces on the page, sometimes only obscured by sunglasses or a camera angle, Alinejad
keeps the names of all the posters anonymous.




“These women are extremely brave because they have posted their photographs on Facebook, which is banned under
the law in Iran,” Alinejad says. “They are in a way daring the authorities to arrest them. And with the publicity that the
site has received, the pictures of these women are all over the world.”

In another photo, a woman dips her toes in the ocean, her hair gathered in a thick black ponytail: “I am an Iranian
woman; and I know my men’s eyes cannot bear to see my freedom! I don’t want this freedom so that I can show off my
beauty. I just want to have it so that my hair can breathe! … Dear Masih, I’d like to thank you for your efforts to help
me and many other women like me to be heard.”

As Charrad points out, displaying an uncovered head on Facebook is not as defiant as walking freely on a sidewalk in
Tehran. But it’s an important step, and one that more and more women are taking.

In one photo dated May 15, a woman is running in an open field, a colorful scarf streaming behind her. She’s a distant
figure; the vastness of the valley and the vivid blue of the sky almost hide her completely.

“My dear Masih,” she writes, “I love this photo dearly. I took it a month ago in Shiraz near Sheshpir River. It was a
sunny day and my husband said ‘Don’t you really feel hot? Be comfortable..!’ So I removed my scarf from my head and
started running in the plain.. I enjoyed the wind blowing through my hair so much that the sound of my laughter filled
the whole plain.”




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